Case 8:17-cv-00838-JLS-JDE Document 164-5 Filed 11/06/20 Page 1 of 2 Page ID
                                 #:6986



                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
 In re: Hyundai and Kia Engine       8:17-cv-00838-JLS-JDE
 Litigation
                                     Related Cases:
                                     8:17-cv-01365-JLS-JDE
                                     8:17-cv-02208-JLS-JDE
                                     2:18-cv-05255-JLS-JDE
                                     8:18-cv-00622-JLS-JDE
                                     8:18-cv-02223-JLS-JDE


 DECLARATION OF ADAM GONNELLI IN FURTHER SUPPORT OF
PLAINTIFFS’ UNOPPOSED MOTION FOR CLASS COUNSEL FEE AND
   EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE
                       AWARDS

      I, Adam Gonnelli, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct:
      1.       I am a member in good standing of the bar of New York and am
admitted pro hac vice in this case. I am counsel for Plaintiffs and the Settlement
Class. I respectfully submit this declaration in further support of Plaintiffs’
Unopposed Motion for Class Counsel Fees and Expenses Award and Named
Plaintiffs’ Service Awards. The following is based on my personal knowledge, and
if called upon to do so, I could and would competently testify to the statements set
forth below.
      2.       Between October 9, 2020 and November 5, 2020, I spent 51.4 hours
working on this case, for a total lodestar of $40,863.00.
      3.       Consistent with Your Honor’s Procedures, a spreadsheet in Microsoft
Excel format that lists billed tasks will be provided to the Court.
      4.       Between September 29, 2020 and November 5, 2020, my firm has
expended additional costs of $5,358.75 on expert fees. This expense is reflected in
     Case 8:17-cv-00838-JLS-JDE Document 164-5 Filed 11/06/20 Page 2 of 2 Page ID
                                      #:6987




 1   the books and records of my firm. All of the expenses incurred were reasonable
 2   and necessary to the prosecution of this case.
 3
           5.     When combined with the time I previously submitted to the Court
 4
     through October 6, 2020 (and not counting the time I spent working on the case
 5
     when I was a partner with The Sultzer Law Group), I have spent a total of 170.3
 6
     hours working on this case, for a total lodestar amount of $135,388.50. My firm
 7
     has also expended total costs of $8,615.75 in this case.
 8
 9   Dated: November 6, 2020
10
                                                   ________________
11                                                 Adam Gonnelli
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